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      IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                    DISTRICT OF PENNSYLVANIA


Andrew R. Perrong,                   :
     Plaintiff                       :
                                     :       Case No. 2:23-cv-00510-JDW
vs.                                  :
                                     :
Matthew Bradford,                    :
     Defendant                       :

      AMICI CURIAE BRIEF OF THE REPUBLICAN AND DEMOCRATIC
        CAUCUSES OF THE SENATE OF PENNSYLVANIA, AND THE
        REPUBLICAN CAUCUS OF THE PENNSYLVANIA HOUSE OF
         REPRESENTATIVES, IN SUPPORT OF REPRESENTATIVE
           BRADFORD’S MOTION FOR SUMMARY JUDGMENT

Rodney A. Corey, Esq. (Pa. 69742)                 Crystal Clark, Esq. (Pa. 91069)
James G. Mann, Esq. (Pa. 85810)                   General Counsel
Office of Chief Counsel                           Senate Republican Caucus
House Republican Caucus                           Room 350, Main Capitol Bldg.
Pennsylvania House of Representatives             Harrisburg, Pa. 17120
Suite B6, Main Capitol                            (717) 787-6259
Harrisburg, Pa. 17120
(717)783-1510


Ronald N. Jumper, Esq. (Pa. 64346)
Shannon A. Sollenberger, Esq. (Pa. 308878)
Office of Chief Counsel
Senate Democratic Caucus
Room 535, Main Capitol Bldg.
Harrisburg, Pa. 17120
(717) 787-3736

Dated: December 15, 2023
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       STATEMENT OF INTEREST OF PROPOSED AMICI CURIAE

      Amici Curiae, the Republican and Democratic Caucuses of the Senate of

Pennsylvania and the Republican Caucus of the Pennsylvania House of

Representatives, file this brief in support of Representative Matthew Bradford’s

Motion for Summary Judgment.

      Amici Curiae’s interest in this case stems from the fact that the members of

Republican and Democratic Caucuses of the Senate of Pennsylvania and the

Republican Caucus of the Pennsylvania House of Representatives are similarly

situated to Representative Bradford.

      Representative Bradford is a Member, and current Leader, of the Democratic

Caucus of the Pennsylvania House of Representatives (House Democratic Caucus).

The House Democratic Caucus is comprised of the elected Democratic State

Representatives. Amici, the remaining three Caucuses of the Pennsylvania House

and Senate, comprise the remainder of the elected Members of the Pennsylvania

General Assembly (House and Senate). The four political party Caucuses have

existed since 1857. Precision Mktg., Inc. v. Com., Republican Caucus of the

Senate of PA/AKA Senate of PA Republican Caucus, 78 A.3d 667, 672

(Pa.Cmwlth. 2013).
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      The issues before this Court, concerning application of the Telephone

Consumer Protection Act to Pennsylvania legislators, will have a direct and

substantial impact on those legislators’ ability to engage in legitimate legislative

communications with Pennsylvania’s residents. Therefore, Amici believe that this

Court will benefit from their perspective on this dispute.


                                  INTRODUCTION
      The fundamental question underpinning this litigation involves the ability of

all of Pennsylvania’s legislators to engage in mass communications with their

constituents concerning government programs and initiatives. It extends beyond

political party, the specific subject matter of the calls at issue here, or the particular

chamber of the General Assembly. An adverse decision here would, by

implication, determine that Pennsylvania State Representatives and Senators are

not engaged in official business when using mass communications for these

purposes and run contrary to decades of legislative practice in Pennsylvania.

      At issue in this litigation are five phone calls received September 20, 2019;

October 10, 2019; January 31, 2020; April 17, 2020; and December 30, 2020. Am

Compl. (ECF No. 19 at ¶ 29). The December 30, 2020 call concerned a virtual

information session related to Pennie. Id. at ¶ 40. Pennie refers to a statutorily

authorized state program, the Pennsylvania Health Insurance Exchange Authority.

See https://agency.pennie.com/about-us/, last accessed 12.7.2023; see also 40
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Pa.C.S. § 9101 et seq, 14 Summ. Pa. Jur. 2d Insurance § 1:2 (2d ed.). 1 The

Pennsylvania General Assembly determined that Pennsylvania Act 42 of 2019,

which created Pennie, was “necessary to maintain the Commonwealth's

sovereignty over the regulation of health insurance in this Commonwealth as

permitted by Federal law” and was “intended to meet these requirements while

retaining the Commonwealth's authority to regulate health insurance in this

Commonwealth.” 40 Pa.C.S. § 9102(3). Act 42 passed both the Pennsylvania

House of Representatives and Pennsylvania Senate unanimously in late June of

2019. 2 Other calls related to a variety of legislative events and government topics.

See Transcripts, attached as Exhibit A.

      While this Court dismissed Plaintiff’s claims concerning those phone calls

under the Telemarketer Registration Act, 73 P.S. § 2241 et seq., claims concerning

the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, remain extant.

Perrong v. Bradford, Order re: Motion to Dismiss, (ECF No. 11).




1
 “Effective July 2, 2019, a series of statutes designed to provide health insurance
marketplace oversight… became effective. The Pennsylvania Health Insurance
Exchange Authority is established by these statutes, and provision is made for the
powers, duties, operations and limitations of such authority.”
2
 See
https://ldpc6.legis.state.pa.us/cfdocs/billInfo/bill_history.cfm?syear=2019&sind=0
&body=H&type=B&bn=3, last accessed 12.7.2023.
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      As noted in this Court’s Order regarding Representative Bradford’s Motion

to Dismiss, issued on April 28, 2023, the Federal Communication Commission’s

(FCC) 2020 Order in Broadnet Teleservices LLC concluded that “calls made by

state government callers in the conduct of official business are not calls made by

persons.” Perrong v. Bradford, Order Re: Motion to Dismiss, (ECF No. 11, p. 4-5,

¶ 8) (citations, quotation marks omitted). That same paragraph in this Court’s

April 28, 2023 Order then posed hypothetical questions relevant to determining

whether the phone calls by Representative Bradford were, in fact, official business.

Id. The analysis that follows seeks to assist this Court and demonstrate the answer

to the question of whether these calls were official business is a clear “yes.” While

this analysis also has value in the context of considering claims of Eleventh

Amendment sovereign immunity, and at least one of the calls at issue likely falls

within the TCPA’s emergency exception (47 U.S.C.A. § 227(b)(1)(B), concerning a

call initiated for emergency purposes), the focus of this Amici Curiae brief will be

whether Representative Bradford – and by extension, every Member of the General

Assembly – is a “person” under the TCPA.

      Given that Representative Bradford is a Member of the Pennsylvania House

of Representatives, much of the discussion below will focus on the rules and

guidelines which apply to the House. Amici will, however, also explore the

question in light of provisions that apply to all of Pennsylvania’s Senators.
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                          SUMMARY OF ARGUMENT
        Elected members of the Pennsylvania General Assembly do not fall within

the meaning of “person” under the TCPA for the purposes these calls and this

litigation. Mass communications to constituents regarding the availability of

government services and programs are a regular part of the official business

conducted by House and Senate members. Specifically, the calls placed by

Representative Bradford fall well within the type of acceptable legislative

communications envisioned by House and Senate rules relating to the appropriate

use of legislative resources and were made at times authorized by House Rules.

For these reasons, the Republican and Democratic Caucuses of the Senate of

Pennsylvania and the Republican Caucus of the Pennsylvania House of

Representatives respectfully request that this Court grant Representative

Bradford’s Motion for Summary Judgment.

                                    ARGUMENT
   I.      Calls made by state government callers in the conduct of official
           business are not calls made by “persons” under the TCPA.

        The prohibitions of TCPA apply to “any person.” 47 U.S.C. § 227(b)(1).

For the purposes of the five calls listed in the complaint, Representative Bradford

is not a “person” under the TCPA.

        “Person” is not defined in the TCPA (47 U.S.C. § 227), however, “the

Communications Act of 1934, which the TCPA amended, defines person as an
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‘individual, partnership, association, joint-stock company, trust or corporation.’ 47

U.S.C. § 153(39).” Schuppe v. Harris & Harris, Ltd., No. 18 C 8221, 2019 WL

2473832, at *1 (N.D. Ill. June 13, 2019).

      As previously noted by this Court, in 2020, the FCC clarified that “state

government callers in the conduct of official business ... do not fall within the

meaning of “person” in section 227(b)(1).” In the Matter of Rules & Reguls.

Implementing the Tel. Consumer Prot. Act of 1991 Broadnet Teleservices LLC

Petition for Declaratory Ruling Nat'l Consumer L. Ctr. Petition for Reconsideration

& Request for Stay Pending Reconsideration of Broadnet Teleservices LLC

Petition for Declaratory Ruling Pro. Servs. Council Petition for Reconsideration of

Broadnet Teleservices LLC Petition for Declaratory Ruling, 35 F.C.C. Rcd. 15052

(2020); see also Government and Government Contractor Calls Under the

Telephone Consumer Protection Act of 1991, 86 FR 9299-01.

      As recently as this year, the FCC reiterated and clarified its “2016 Broadnet

Declaratory Ruling and the 2020 Broadnet Order” and “made clear that federal

and state government callers are not ‘persons’ subject to the TCPA's restrictions if

their calls are made in the conduct of official business”. In the Matter of Rules &

Reguls. Implementing the Tel. Consumer Prot. Act of 1991 U.S. Dep't of Health &

Hum. Servs. Petition for Declaratory Ruling, No. CG02-278, 2023 WL 415622, at

*6, (OHMSV Jan. 23, 2023).
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          Even Plaintiff recognizes the FCC’s expertise and authority regarding issues

surrounding the TCPA. Am. Compl. (EFC No. 19, ¶ 12)

    II.      Providing Information to Pennsylvania residents concerning
             government programs serves a legislative purpose under the House
             Rules.

          The Pennsylvania Constitution provides that the “legislative power of this

Commonwealth shall be vested in a General Assembly, which shall consist of a

Senate and a House of Representatives.” Pa. Const., Art. II, § 1. Further, both the

Pennsylvania House and Senate have the power to adopt their own rules. Pa.

Const., Art. II, § 11.

          On January 1, 2019, at the beginning of the 2019-2020 legislative term, the

Pennsylvania House of Representatives adopted General Operating Rules, as well

as Ethical and Professional Conduct Rules, by a bipartisan vote of 142-58. H.R. 1,

P.N. 1 of 2019.3

          House Rule 14, entitled “Members’ and Employees’ Expenses,” expressed

the general rule that legislative funds may be utilized for “any legislative purpose

or function.” H.R. 1, P.N. 1 of 2019, page 3, lines 24-25. 4


3

https://www.legis.state.pa.us/cfdocs/billInfo/billInfo.cfm?sYear=2019&sInd=0&bo
dy=h&type=r&bn=1, last accessed 12.7.2023.
4

https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=PD
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      The House Comptroller serves as “the chief fiscal officer of the House.” 46

P.S. § 42.121h. In this capacity, the Comptroller prepares and distributes a

Legislative Handbook which serves as a guide to House expenses. The 2019-2020

Legislative Handbook explained “Legislative Purpose” as follows:

             Legislative Purpose: This threshold must be satisfied EVERY time a
             member seeks reimbursement. Every legislative event needs to have a
             logical and substantive connection to government work or programs
             in order for the Comptroller to release taxpayer funds…

p. 41 (emphasis in bold added), attached as Exhibit B.

      Further, the Legislative Handbook notes, with respect to “Events and Fairs,”

“[t]he event must support a legislative purpose.” Id. at 40.

      Of note, this general proposition concerning “legislative purpose” is not

limited to state programs or state legislation. It also includes information about

local and federal government programs, initiatives, laws and ordinances. As the

closest state elected officials to the people of Pennsylvania (elected by House and

Senate districts rather than statewide), Pennsylvania State Representatives and

Senators often serve as a one-stop shop for constituents seeking information to

answer their government questions. As such, communications – regardless of form

– on these issues are a regular part of the official business done by House and



F&sessYr=2019&sessInd=0&billBody=H&billTyp=R&billNbr=0001&pn=0001,
last accessed 12.7.2023.
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Senate members. In this instance, the calls by Representative Bradford at issue in

this litigation fall squarely within that “legislative purpose.”

   III.     Mass communications by Pennsylvania House legislators were
            generally authorized for legislative purposes during the 2019-2020
            legislative Term.

      Mass communications related to government programs and statutes are a

recognized part of the services provided by Pennsylvania State Representatives in

their official capacity. The General Operating Rules of the Pennsylvania House of

Representatives (which include Ethical and Professional Conduct Rules), adopted

for the 2019-2020 legislative term contemplated the use of mass communications,

including telemarketing activities and robocalls. HR 1, PN 1 of 2019.

   A. House mass communications, including telemarketing activities and
      robocalls, were only limited during a restricted period before an
      election.

      Mass communications by Pennsylvania State Representatives for legislative

purposes are, however, limited during a restricted period before an election. House

Resolution 1, Printer’s Number 1, discussed above, defined “mass communication”

as part of House Rule 1E:

               "Mass communication." The term shall include, but not be limited to,
               the following if they are paid for with House funds:

                     (1) Any newsletter or similar mailing of more than 50 pieces a
                     day in which the content of the matter is substantially identical.
                     (2) Any electronic mail transmission to more than 50 addresses
                     per day in which the content of the matter is substantially
                     identical.
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                     (3) Any public service announcement via radio or television
                     broadcast that depicts the name, voice or image of a Member.
                     (4) Any telemarketing activities or robocalls on behalf of a
                     Member, except for limited surveys to determine public
                     opinion on various issues that do not use the name, voice or
                     image of a Member.

H.R. 1, P.N. 1 of 2019, p. 45, lines 10-24 (emphasis in bold added).5

House Rule 2E, found in H.R. 1, explained:

              (2) No mass communication shall be made at the direction or on
              behalf of any Member which is delivered to a postal facility or
              otherwise distributed during a restricted period. Nothing in this
              subsection shall apply to any mass communication:

                     (a) in response to inquiries or affirmative requests from persons
                     to whom the matter is communicated,
                     (b) sent to colleagues in the General Assembly or other
                     government officials, or
                     (c) which consists entirely of news releases to the
                     communications media.

Id., p. 49, lines 9-18.

       Finally, a “restricted period” during which mass communications were

limited was defined as:

              The 60-day period immediately preceding:

                     (1) a primary or general election in an even-numbered year; or
                     (2) an election at which the Member is a candidate.

Id., p. 46, lines 8-12.

5

https://www.legis.state.pa.us/cfdocs/billInfo/billInfo.cfm?sYear=2019&sInd=0&bo
dy=h&type=r&bn=1, last accessed 12.7.2023.
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       For the vast majority of the 2019-2020 legislative term, mass

communications for legislative purposes were not limited by the House Rules. In

other words, as long as a mass communication had a legislative purpose, including

information about government programs, it was not limited.

    B. Four of the calls listed in the amended complaint did not fall within a
       restricted period.

       Representative Bradford was not a candidate in any election in 2019,

therefore, he was not subject to any restricted period concerning mass

communications in that calendar year.

       The 60-day restricted periods prior to the primary and general elections in

2020 occurred from:

    • February 28, 2020, until March 27, 2020, when the Governor of
      Pennsylvania signed Act 12 of 2020, which moved the primary election
      from April 28 to June 2, 20206 and, as result, changed the starting and
      ending dates of the restricted period for the primary election;
    • April 3, 2020, until the primary election on June 2, 2020; 7 and




6

https://www.legis.state.pa.us/cfdocs/Legis/LI/uconsCheck.cfm?txtType=HTM&yr
=2020&sessInd=0&smthLwInd=0&act=0012, § 1804-B, last accessed on
12.7.2023.
7

https://www.electionreturns.pa.gov/Home/SummaryResults?ElectionID=83&Electi
onType=P&IsActive=0, last accessed on 12.7.2023.
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     • September 4, 2020, until the general election on November 3, 2020.8
       Four of the calls listed in the amended complaint (September 20 and October

10, 2019 as well as January 31 and December 30, 2020) 9 did not occur during a

restricted period. Therefore, these mass communications providing information

about government programs were well within the scope of Representative

Bradford’s legislative communications.

     C. The April 17, 2020 call was permitted as an exception concerning public
        and private resources available to mitigate the COVID disaster
        emergency.

        Late 2019 into 2020 was a particularly unique time because of the COVID

pandemic. On March 16, 2020, the House adopted a temporary rule to lift the

limits on mass communications during a restricted period for the purpose of

communicating information related to COVID-19. H.R. 834, P.N. 3491, p. 3, lines

20-28. 10 This temporary exception to the limits on mass communications was

further expanded a short time later, on March 25, 2020, to allow certain mass

communications during a restricted period to direct citizens to public and private


8
 See
https://www.electionreturns.pa.gov/General/SummaryResults?ElectionID=83&Ele
ctionType=G&IsActive=0, last accessed on 12.7.2023.
9
    Amended Compl. (EFC No. 19 ¶ 29).
10

https://www.legis.state.pa.us/cfdocs/billInfo/billInfo.cfm?sYear=2019&sInd=0&bo
dy=h&type=r&bn=834, last accessed on. 12.7.2023
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resources and services available to mitigate the COVID disaster emergency, as

follows:

             RESOLVED, That mass communication, excluding newsletters and
             similar mailings of more than 50 pieces a day in which the content of
             the matter is substantially identical, shall be permitted during a
             restricted period if the mass communication is limited to information
             directing constituents to public and private resources and services
             available to mitigate the impact of the state of disaster emergency
             declared March 6, 2020; ...

H.R. 2, P.N. 3502, p. 1, lines 11-18. 11

      As explained above, four of the calls at issue in this dispute were not made

during a restricted period. The call on April 17, 2020, while it occurred during a

restricted period, fell within the specific exception to the limits on mass

communications adopted as part of H.R. 2. See Transcript of April 17, 2020 call,

attached as Exhibit A (discussing assistance for issues related to COVID-19).

      The role of providing information to the public has become integral to

legislative service in Pennsylvania. The exceptions adopted to respond to COVID

only served to highlight the importance of that informational function.

      Representative Bradford’s calls were calls made by a state government caller

in the conduct of official business during times authorized by House Rules.




11

https://www.legis.state.pa.us/cfdocs/billInfo/billInfo.cfm?sYear=2019&sInd=0&bo
dy=h&type=r&bn=2, last accessed on 12.7.2023
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     IV.     The Pennsylvania Senate’s various Rules also permit legislatively-
             sponsored “mass” communications.

       Like their counterparts in the House, the Pennsylvania Senate also begins

each legislative term by adopting various Rules for the operation of the Senate,

both legislatively and administratively. Collectively, they are comprised of the

Ethical Conduct Rules of the Senate (S.R. 1, P.N. 1 of 2019), 12 the Financial

Operating Rules of the Senate (S.R. 2, P.N. 2 of 2019), 13 and the Rules of the

Senate of Pennsylvania (S.R. 3, P.N. 3 of 2019).14

       The Ethical Conduct Rules can generally be categorized as prohibiting the

use by Members and staff of the official resources of the Senate for anything other

than “official action.” See S.R. 1, P.N. 1, pgs. 5-9. The Financial Operating Rules,

among other things, outline generally the kinds of expenses which can be directly

paid and/or reimbursed by the Senate. For instance, Rule 3 of the Financial


12

https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=HT
M&sessYr=2019&sessInd=0&billBody=S&billTyp=R&billNbr=0001&pn=0001,
last accessed 12.7.2023
13

https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=HT
M&sessYr=2019&sessInd=0&billBody=S&billTyp=R&billNbr=0002&pn=0002,
last accessed 12.7.2023
14

https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=HT
M&sessYr=2019&sessInd=0&billBody=S&billTyp=R&billNbr=0003&pn=0003,
last accessed 12.7.2023
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Operating Rules permits the payment of “ordinary and necessary expenses for

meals, lodging and incidental items” when the Senator is “engaged in the

performance of legislative duties.” S.R. 2, P.N. 2, p. 8, lines 16-22. Rule 6(a)

authorizes Senate offices within the Capitol to incur expenses for utility services,

insurance, printing services, telephone and data services, and postage and

communications, among other things. Of course, in order to obtain payment for

these expenses, vouchers must be submitted which appropriately document the

expenses and “legislative purpose for each expenditure.” S.R. 2, P.N. 2, p. 15, lines

20-24. As such, any expense incurred by a Member’s office must have a legislative

purpose in accordance with both the Ethical Conduct Rules and Financial

Operating Rules in order to be paid or reimbursed by the Senate, or when using

Senate resources.

      Most importantly to this case, Rule 6(a)(10) of the Senate’s Financial

Operating Rules permits additional expenses other than those specified in those

Rules to be paid if they are provided for in the “policies of the Senate Committee

on Management Operations.” The Senate’s Committee on Management Operations

(“COMO”) was first established in 1981 in the Legislative Officers and Employees

Law. See 46 P.S. 42.101a. The COMO is comprised of the President pro tempore,

Majority Leader, Minority Leader, Majority Whip, Minority Whip, Majority

Chairman and Minority Chairman of the Appropriations Committee, and Majority
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and Minority Caucus Administrators. Id. Rules, regulations, policies and

procedures promulgated by COMO are published by the Chief Clerk of the Senate

in a handbook format. 46 PS 42.102(b).

      COMO Policy 2018:01 entitled “Electronic Communication Expenses”

specifically addresses the permissibility of certain electronic communications by

Senate offices. In particular, it permits the reimbursement of electronic

communication expenses of Senate members relating to: “(1) Constituent

Automated Messaging (Electronic email blasts to constituents, SMS texts); (2)

tele-town halls; and (3) Auto-dialing regarding specific Senate events being held

for the benefit of constituents.” A copy of the Senate’s COMO Policy 2018:01 is

attached hereto as Exhibit C. Payments for such communications are permitted

from Member postage and communications accounts, caucus operations accounts,

and legislative accountable expense accounts.

      In short, as long as “electronic communication expenses” were being

incurred for a legislative purpose, including expenses for auto-dialing and

automated messaging, they were reimbursable by the Senate and consistent with

the Senate’s Ethical Conduct Rules. Where those conditions have been satisfied, a

Senator’s activities in this regard would be undertaken in the context of “official

business” and not as a “person” within the meaning of section 227(b)(1) of the

TCPA.
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                                 CONCLUSION

      Representative Bradford, similar to his colleagues in the Pennsylvania

House of Representatives and the Pennsylvania Senate, is not a “person” under the

TCPA for the purposes of these calls and this litigation. For the foregoing reasons,

the Republican and Democratic Caucuses of the Senate of Pennsylvania and the

Republican Caucus of the Pennsylvania House of Representatives respectfully

request that this Court grant Representative Bradford’s Motion for Summary

Judgment.

                              Respectfully submitted,

/s/Rodney A. Corey                                  /s/ Crystal Clark
Rodney A. Corey, Esq. (Pa. 69742)                   Crystal Clark, Esq. (Pa. 91069)
James G. Mann, Esq. (Pa. 85810)                     General Counsel
Office of Chief Counsel                             Senate Republican Caucus
House Republican Caucus                             Room 350, Main Capitol Bldg.
Pennsylvania House of Representatives               Harrisburg, Pa. 17120
Suite B6, Main Capitol                              (717) 787-8724
Harrisburg, Pa. 17120
(717)783-1510

/s/Ronald N. Jumper
Ronald N. Jumper, Esq. (Pa. 64346)
Shannon A. Sollenberger, Esq. (Pa. 308878)
Office of Chief Counsel
Senate Democratic Caucus
Room 535, Main Capitol Bldg.
Harrisburg, Pa. 17120
(717) 787-3736

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